850 F.2d 690Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kevin ROBINSON, Petitioner--Appellant,v.J.J. CLARK, Warden;  United States Parole Commission,Respondents--Appellees.
    No. 88-7083.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 25, 1988.Decided:  June 23, 1988.
    
      Kevin Robinson, appellant pro se.
      Dennis Edward Szybala, Assistant U.S. Attorney (Office of the United States Attorney), for appellees.
      Before WIDENER and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Kevin Robinson appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Robinson v. Clark, C/A No. 87-948-AM (E.D.Va. Feb. 22, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    